AO 245B (W D N C R ev. 4/04) Judgment in a C riminal C ase



                                                             United States District Court
                                                        For The Western District of North Carolina

UNITED STATES OF AMERICA                                                             JUDGMENT IN A CRIMINAL CASE
                                                                             (For Offenses Com m itted On or After Novem ber 1, 1987)
       V.
                                                                             Case Num ber: 1:06cr5-2
W illiam Neal Boone
                                                                             USM Num ber:
                                                                             Carol Ann Bauer
                                                                             Defendant’s Attorney

THE DEFENDANT:

X      pleaded guilty to count(s) 1.
       Pleaded nolo contendere to count(s) which was accepted by the court.
       W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                               Date Offense
 Title and Section                    Nature of Offense                                        Concluded                        Counts

 18:846 and 841(a)(1)                 Conspiracy to m anufacture and possess with intent to    1/2002 until present             1
                                      distribute, a quantity of m etham phetam ine, Sch II



     The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

       The defendant has been found not guilty on count(s) .
       Count(s) (is)(are) dism issed on the m otion of the United States.

      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of nam e,
residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully paid. If ordered
to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in the defendant’s
econom ic circum stances.

                                                                                    Date of Im position of Sentence: 11/28/06




                                                                                    Date:        Decem ber 2, 2006




                          Case 1:06-cr-00005-MR-WCM                      Document 182          Filed 12/04/06          Page 1 of 6
AO 245B (W D N C R ev. 4/04) Judgment in a C riminal C ase

Defendant: W illiam Neal Boone                                                                                                 Judgm ent-Page 2 of 5
Case Num ber: 1:06cr5

                                                                            IMPRISONMENT

      The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of 151
m onths.




X   The Court m akes the following recom m endations to the Bureau of Prisons:
          Deft be perm itted to participate in any educational or vocational program s that m ay be m ade available to him and for any drug
abuse treatm ent program .

     The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

            At        On     .
            As notified by the United States Marshal.

X    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


            Before 2 pm on .
        X   as notified by the United States Marshal.
            As notified by the Probation or Pretrial Services Office.

                                                                                 RETURN

I have executed this Judgm ent as follows:




       Defendant delivered on                                               To

At                                                           , with a certified copy of this Judgm ent.


                                                                                               United States Marshal

                                                                                      By
                                                                                               Deputy Marshal




                          Case 1:06-cr-00005-MR-WCM                              Document 182             Filed 12/04/06   Page 2 of 6
AO 245B (W D N C R ev. 4/04) Judgment in a C riminal C ase



Defendant: W illiam Neal Boone                                                                                                                           Judgm ent-Page 3 of 5
Case Num ber: 1:06cr5

                                                                          SUPERVISED RELEASE

       Upon release from im prisonm ent, the defendant shall be on supervised release for a term of 5 years.

       The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low risk of
       future substance abuse.

                                                             STANDARD CONDITIONS OF SUPERVISION

       T he defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.     T he defendant shall not commit another federal, state, or local crime.
2.     T he defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.     T he defendant shall pay any financial obligation imposed by this judgment rem aining unpaid as of the commencement of the sentence of probation or the term of
       supervised release on a schedule to be established by the court.
4.     T he defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.     T he defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.     T he defendant shall not leave the W estern D istrict of N orth C arolina without the permission of the Court or probation officer.
7.     T he defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete written report
       within the first five days of each month.
8.     A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release from custody
       of the Bureau of Prisons.
 9.    T he defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.    T he defendant shall support his or her dependents and meet other family responsibilities.
11.    T he defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by the
       probation officer.
12.    T he defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.    T he defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or other controlled
       substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.    T he defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer, until such time as the
       defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a drug test within 15 days of release on probation
       or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of 18:3563(a)(5) or 18:3583(d),
       respectively.
15.    T he defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.    T he defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless granted
       permission to do so by the probation officer.
17.    T he defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U .S. Probation O fficer and such other law
       enforcement personnel as the probation officer m ay deem advisable, without a warrant; and failure to submit to such a search may be grounds for revocation of
       probation or supervised release. T he defendant shall warn other residents or occupants that such prem ises or vehicle may be subject to searches pursuant to this
       condition.
18.    T he defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband observed by the
       probation officer.
19.    T he defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.    T he defendant shall not enter into any agreement to act as an inform er or a special agent of a law enforcement agency without the perm ission of the Court.
21.    As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal history or
       characteristics, and shall perm it the probation officer to make such notifications and to confirm the defendant’s compliance with such notification requirem ent.
22.    If the instant offense was com mitted on or after 4/24/96, the defendant shall notify the probation officer of any material changes in defendant’s econom ic
       circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.    If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the electronic monitoring or
       other location verification system program based upon your ability to pay as determined by the probation officer.
24.    T he defendant shall cooperate in the collection of D NA as directed by the probation officer.


ADDITIONAL CONDITIONS:




                          Case 1:06-cr-00005-MR-WCM                                 Document 182                  Filed 12/04/06                Page 3 of 6
AO 245B (W D N C R ev. 4/04) Judgment in a C riminal C ase



Defendant: W illiam Neal Boone                                                                                               Judgm ent-Page 4 of 5
Case Num ber: 1:06cr5

                                                               CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                  ASSESSMENT                                               FINE                             RESTITUTION

                      $100.00                                              $0.00                              $15,319.01



                                                                               FINE


        The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full before
the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of Paym ents m ay
be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X           The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X           The interest requirem ent is waived.

            The interest requirem ent is m odified as follows:


                                                              COURT APPOINTED COUNSEL FEES

X           The defendant shall pay court appointed counsel fees.

            The defendant shall pay $                        Towards court appointed fees.




                          Case 1:06-cr-00005-MR-WCM                        Document 182      Filed 12/04/06        Page 4 of 6
AO 245B (W D N C R ev. 4/04) Judgment in a C riminal C ase


Defendant: W illiam Neal Boone                                                                                                   Judgm ent-Page 5 of 5
Case Num ber: 1:06cr5


                                                                    SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

       A                 Lum p sum paym ent of $                    Due im m ediately, balance due

                         Not later than                 , or
                         In accordance             ©,          (D) below; or

       B     X           Paym ent to begin im m ediately (m ay be com bined with            ©,       X (D) below); or

       C                 Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $             To com m ence              (E.g.
                         30 or 60 days) after the date of this judgm ent; or

       D     X           Paym ent in equal Monthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To com m ence 60 (E.g.
                         30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire am ount of crim inal
                         m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the U.S. Probation Officer shall
                         pursue collection of the am ount due, and m ay request the court to establish or m odify a paym ent schedule if
                         appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

       The defendant shall pay the cost of prosecution.
       The defendant shall pay the following court costs:
       The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of im prisonm ent
paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty paym ents are to be
m ade to the United States District Court Clerk, 309 U.S. Courthouse, 100 Otis Street, Asheville, NC, 28801, except those paym ents m ade
through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are to be m ade as
directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                          Case 1:06-cr-00005-MR-WCM                            Document 182          Filed 12/04/06     Page 5 of 6
AO 245B (W D N C R ev. 4/04) Judgment in a C riminal C ase



Defendant: W illiam Neal Boone                                                                                        Judgm ent-Page 5a of 5
Case Num ber: 1:06cr5

                                                             RESTITUTION PAYEES

The defendant shall m ake restitution to the following payees in the am ounts listed below:


 NAME OF PAYEE                                                     AMOUNT OF RESTITUTION ORDERED
 DEA                                                               $10,675.34 (DEA KS-04-SO12,DEA App. #2004B-
                                                                   2345330-LCOPR29-2345330-T14B0500404)(10/28/03
                                                                   cleanup)

 DEA                                                               $2,430.69 (DEA KF-05-S157,DEA App.#2005B-2345330-
                                                                   LCOPR74-2345330-T15B0600507)(4/22/05 cleanup)

 DEA                                                               $2,212.98 (DEA KF-05-S207,DEA app. #2005B-2345330-
                                                                   LCOPR129-2345330-T15B0700801)(7/25/05 cleanup)




X      The defendant is jointly and severally liable with co-defendant Stacey McAbee (1:06cr5-8) for the 10/28/03 $10,675.34 restitution.

       Any paym ent not in full shall be divided proportionately am ong victim s.




                          Case 1:06-cr-00005-MR-WCM                 Document 182         Filed 12/04/06       Page 6 of 6
